                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 AMERITAS LIFE INSURANCE CORP.,

               Plaintiff,

        v.                                          C.A. No. 23-236-GBW

 WILMINGTON SAVINGS FUND SOCIETY,                   JURY TRIAL DEMANDED
 FSB, SOLELY AS SECURITIES
 INTERMEDIARY,

               Defendant.

                             LOCAL RULE 7.1.1 STATEMENT

       Defendant Wilmington Savings Fund Society, FSB, solely as Securities Intermediary,

made reasonable efforts to reach agreement with Plaintiff Ameritas Life Insurance Corp. on the

matters set forth in this Motion. Such reasonable efforts included oral communications between

counsel for the parties on a June 3, 2024 phone call (which involved Delaware counsel for both

parties) and email exchanges between counsel for the parties.

 Dated: June 5, 2024                             K&L GATES LLP

                                                 /s/ Matthew B. Goeller
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